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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 In the Matter of
 APPLICATION OF THE ASSOCIATED
 PRESS; CABLE NEWS NETWORK,
 INC.; THE NEW YORK TIMES CO.;                      Case No. 19-mc-29 (CRC)
 POLITICO LLC; AND WP CO., LLC et al.


                                             ORDER

       A coalition of media organizations has filed a motion to obtain access to currently sealed

search warrant materials that were generated in connection with the Office of Special Counsel’s

criminal investigation of Roger Stone. 1 Following the conclusion of Mr. Stone’s trial, the

Government agreed to release the warrant materials with redactions necessary to protect other

pending investigations or the privacy interests of third parties, and the media coalition indicated

that it was satisfied with the Government’s proposal. Tr. 4:7–5:3, 6:12–18, 7:12–8:7 (Jan. 6,

2020). The Government subsequently provided the Court with responsive documents relating to

33 warrants with proposed redactions. See Notice of Filing, Exh. 1 (Mar. 6, 2020). Mr. Stone

indicates that he has no objection to the Government’s proposed releases. Ex Parte Document

(Apr. 23, 2020).

       The Court has reviewed fully unredacted versions of all responsive documents. That

review confirms that the information that the Government proposes to keep under seal in these

materials includes the private information of non-parties, financial information, and non-public

information concerning other pending criminal investigations. The media coalition’s motion to



       1
         The media coalition also sought materials related to the Office of Special Counsel’s
investigation into other individuals, but this case pertains only to Mr. Stone. See Minute Order
(Mar. 4, 2019); Tr. 7:2–11 (Jan. 6, 2020).
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unseal these documents will therefore be denied with respect to these proposed redactions and

granted in all other respects.

       For the foregoing reasons, it is hereby

       ORDERED that [1] Media Coalition’s Motion for Public Access to Certain Sealed Court

Records is GRANTED IN PART and DENIED IN PART. It is further

       ORDERED that the Government shall file by April 28, 2020 public versions of all

responsive warrant materials with the redactions approved by the Court. It is further

       ORDERED that this case is DISMISSED.

       SO ORDERED.




                                                            CHRISTOPHER R. COOPER
                                                            United States District Judge

Date: April 24, 2020




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